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AO 91 (Rev. 11/ 11) Criminal Complaint



                                       UNITED STATES DISTRICT COURT
                                                                       for the
                                                            Southern District of Texas

                  United States of America                                )
                                V.                                        )
                                                                          )
                 Julio Armando DAVILA JR
                         COB: USA                                         )
                         YOB: 1994                                        )
                                                                          )
                                                                          )
                           Defendant(s)                                                                   SEALE
                                                       CRIMINAL COMPLAINT
         I , the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of             01/2019 to on or about 06/2025            in the county of              Hidalgo           in the
     Southern          District of - - - -
                                         Texas
                                           -----
                                                 , the defendant(s) violated:

             Code Section                                                           Offense Description
                                                     Conspiracy to manufacture, distribute or dispense, or possess with intent to
21 USC§ 846, 841                                     manufacture, distribute or dispense a controlled substance, namely 5
                                                     kilograms or more of cocaine, a Schedule II Controlled Substance.


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                                                                                                     rn District
                                                                                                          FILEO
                                                                                                     •• N O3 7
         This criminal complaint is based on these facts:

(SEE ATTACHMENT A)




         ~ Continued on the attached sheet.



Complaint authorized by: AUSA James Sturgis
                                                                                           Bevan Vaughan , Special Agent, HSI
Submitted by reliable electronic means, sworn                                                       Printed name and title
to and attested to telephonically per Fed. R. Cr.
4.1, and probable cause found on:


Date:             06/03/2025         ...-/ (]: j ~ ...ti.


City and state:                           McAllen , Texas                                    Juan F. Alanis , Magistrate Judge
                                                                                                    Printed name and title
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An investigation being conducted by the Drug Enforcement Administration (DEA), and Homeland
Security Investigations (HSI) has identified a Drug Trafficking Organization (DTO) operating in the Rio
Grande Valley, Texas (RGV) area which coordinates the transportation and distribution of multi-kilogram
quantities of cocaine to the Houston, Texas area and elsewhere. Agents have identified several
members of the organization, including Julio Armando DAVILA JR. (DAVILA JR) . Based on the
investigation, DAVILA JR is responsible for receiving kilogram quantities of narcotics in the RGV and
coordinating the transportation of the narcotics to Houston, Texas and elsewhere into the United States.

In February 2025, a cooperating individual (Cl-1) informed agents that he/she worked with the DTO
beginning in about 2021. Cl -1 stated that he/she was responsible for transporting kilograms of cocaine
from the RGV to the Houston, TX area, as directed by DAVILA JR. Cl-1 stated that beginning in early
2021, he/she would transport approximately 25 kilograms of cocaine to Houston, Texas per trip.
According to Cl -1, the cocaine was concealed in oxygen tanks and aftermarket compartment-laden
vehicles. Cl-1 stated that he/she successfully transported approximately 600 kilograms of cocaine to
Houston, Texas over a two-and-a-half-year period.

In June 2023 another cooperating individual (Cl-2) informed agents that he/she transported cocaine
from Houston, Texas to northern U.S. states on behalf of the DTO in 2022 . Cl-2 identified DAVILA JR as
the coordinator who arranged for the transportation of narcotics. Cl-2 stated that he/she would meet
with an associate of DAVILA JR at local truck stops or convenience stores near Houston, Texas and would
receive the cocaine. Cl-2 stated that he/she would receive and transport 30 to 60 kilograms of cocaine
on a weekly basis and worked for the DTO for approximately 10 months.

In 2024, a cooperating defendant (CD-1) informed agents that he/she worked for the DTO beginning in
2023. CD-1 stated that he/she would acquire, transport and store kilogram quantities of cocaine at the
direction of DAVILA JR and other co-conspirators. CD-1 stated in mid-2023, he/she would pick up the
narcotics from different locations in the RGV and transport the cocaine to other locations within the
RGV so that it could be stored prior to it being transported northward . CD-1 stated approximately 25
kilograms of cocaine would be accumulated before the cocaine would be delivered to other DTO
members responsible for the transportation of the cocaine to Houston and elsewhere. CD-1 stated that
he/she worked for the DTO for approximately four months until January 2024. CD-1 stated that during
that time, approximately 240 kilograms of cocaine was successfully delivered to other members within
the DTO who were responsible for the transportation of narcotics to the Houston, Texas area .

In February 2025, another cooperating individual (Cl -3) informed agents that he/she also transported
and stored kilograms of cocaine on behalf of the DTO . According to Cl -3, beginning in about 2022, Cl-3
became involved in the transportation and storage of kilogram quantities of cocaine for the DTO. Cl-3
stated that DAVILA JR would direct Cl-3 to receive cocaine from other members of the DTO and then
store it prior to being t ransported to another co-conspirator in Houston, Texas. Cl-3 stated that once
approximately 25 kilograms of coca ine had been accumulated, he/she would contact DAVILA JR who
would provide instructions to deliver the narcotics to other co-conspirators who would transport it to
Houston, Texas. Cl -3 stated that during a two to three year period, hundreds of kilograms of cocaine
were successfully delivered to the Houston, Texas area .

In May 2025, another cooperating defendant (CD-2) informed agents that he/she worked for the DTO
beginning around 2019. CD-2 stated that he/she would acquire, transport and store kilogram quantities
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of cocaine in the Houston, Texas area at the direction of DAVILA JR. The narcotics would later be
distributed to other co-conspirators who would then transport them elsewhere in the United States.
CD-2 stated that during the time he/she worked with the OTO, approximately 1,800 kilograms of cocaine
was successfully delivered to them in the Houston, Texas area, and then transferred to others for further
distribution within the United States.
